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  PACHULSKI STANG ZIEHL & JONES LLP
  James I. Stang, Esq.
  10100 Santa Monica Blvd., 13th Floor
  Los Angeles, CA 90067-4100
  Telephone: 310/277-6910
  Facsimile: 310/201-0760

  - and -

  PACHULSKI STANG ZIEHL & JONES LLP
  John A. Morris, Esq.
  Ilan D. Scharf, Esq.
  780 Third Avenue, 36th Floor
  New York, NY 10017-2024
  Telephone: 212/561-7700
  Facsimile: 212/561-7777

  Attorneys for Official Committee of Unsecured Creditors of The Christian Brothers’
  Institute and The Christian Brothers of Ireland, Inc.

  UNITED STATES BANKRUPTCY COURT
  SOUTHERN DISTRICT OF NEW YORK

  In re:                                                    Chapter 11

  THE CHRISTIAN BROTHERS’ INSTITUTE, et al.,                Case No. 11-22820 (RDD)

                                     Debtors.               (Jointly Administered)


  OFFICIAL COMMITTEE OF UNSECURED                           Adv. Pro. No. 13-[______] (RDD)
  CREDITORS OF THE CHRISTIAN BROTHERS’
  INSTITUTE AND THE CHRISTIAN BROTHERS
  OF IRELAND, INC.,

                                     Plaintiff,
                                v.

  ALL HALLOWS INSTITUTE,

                                     Defendant.


                 COMPLAINT FOR AVOIDANCE AND RECOVERY OF
               FRAUDULENT TRANSFER TO ALL HALLOWS INSTITUTE




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         Plaintiff, the Official Committee of Unsecured Creditors (“Plaintiff” or “Committee”) of

The Christian Brothers’ Institute (“CBI”) and The Christian Brothers of Ireland, Inc. (“CBOI”)

(collectively, the “Debtors”), the debtors and debtors in possession in the above-captioned cases

pending under chapter 11 of title 11 of the United States Code (the “Bankruptcy Code”), by and

through its undersigned counsel, as and for its Complaint for Avoidance and Recovery of

Fraudulent Transfer to All Hallows Institute (the “Complaint”) against All Hallows Institute

(“Defendant” or “AHI”), alleges upon knowledge with respect to the Committee and upon

information and belief as to all other matters as follows:

                                       Nature of This Action

         1.      On April 13, 1990, by a transfer deed dated March 9, 1990, CBI transferred

certain real property and improvements (the “All Hallows Transfer”) associated with a high

school commonly known as All Hallows High School (“AHHS”) to AHI, a corporation formed

by and affiliated with CBI.1 Just a few months after recordation of the transfer deed, John J.

Duffy, CBI’s then general counsel, explained the All Hallows Transfer as follows:

                 Within the last few years in order to make CBI less of a target in
                 any suit for damages, we have been incorporating each school as
                 a separate corporate entity with its own Board of Trustees or
                 Directors and transferring title to the school from CBI e.g. to All
                 Hallows Institute. This helps to give some protection from
                 liability and is also useful for fund raising by individual schools.

See December 18, 1990 letter from John J. Duffy to Claude R. Thomson, Q.C., attached hereto

as Exhibit B (emphasis added). The “liability” referenced in Mr. Duffy’s letter related to

pending and potential sexual abuse claims against CBI, which included: (a) a 1989 sexual abuse

complaint filed against CBI; (b) sexual, physical and emotional abuse claims involving the

Debtors being investigated by a Royal Commission appointed in 1989 by the Newfoundland

1
    A copy of the March 9, 1990 transfer deed is attached hereto as Exhibit A.

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Government; and (c) other claims or potential claims arising out of abuse perpetrated by

members or associates of the Debtors, of which the Debtors would have been aware in 1990.

        2.       By this Complaint, the Committee, which includes survivors of the sexual abuse

perpetrated by members or associates of the Debtors, seeks to avoid and recover the All Hallows

Transfer for the benefit of CBI’s bankruptcy estate and its creditors. The Committee seeks to

avoid and recover the All Hallows Transfer as an “actual” fraudulent transfer pursuant to

sections 544 and 550 of the Bankruptcy Code and sections 276, 278 and 279 of New York’s

Debtor & Creditor Law, on the grounds that CBI made the All Hallows Transfer with the actual

intent to hinder, delay or defraud creditors, including the sexual abuse survivors.

        3.       CBI’s actual fraudulent intent with respect to the All Hallows Transfer is beyond

dispute. As described by CBI’s own general counsel, CBI made the All Hallows Transfer in a

deliberate effort to make CBI a less financially attractive defendant to the sexual abuse survivors

who were in active litigation or contemplating litigation against CBI at the time of the All

Hallows Transfer. This direct evidence of CBI’s actual fraudulent intent is buttressed by

additional circumstantial evidence (or “badges of fraud”) showing that, among other things, CBI

had (and continues to have) a close relationship with AHI, CBI received no consideration in

exchange for the All Hallows Transfer, and CBI retained control over AHHS after the All

Hallows Transfer.

        4.       Therefore, for these and each of the other reasons set forth herein, the Committee

is entitled to avoid and recover the All Hallows Transfer for the benefit of CBI’s bankruptcy

estate and its creditors, including the sexual abuse claimants. In addition, under New York law,

the Committee also is entitled to recover its reasonable attorneys’ fees incurred in prosecuting

this action against AHI.


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                                              Parties

        5.       The Plaintiff is the Official Committee of Unsecured Creditors appointed in CBI’s

chapter 11 case by the United States Trustee on or about May 19, 2011. The United States

Trustee appointed the Committee to represent CBI’s unsecured creditors pursuant to 11 U.S.C.

§ 1102(a)(1). The Committee includes survivors of sexual abuse perpetrated by members or

associates of CBI.

        6.       The Defendant is All Hallows Institute, a corporation organized and existing

under the Education Law of New York with a principal place of business located at 111 East

164th Street, Bronx, New York 10452. AHI was formed by CBI. Both CBI and AHI are civil

entities affiliated with the Congregation of Christian Brothers (the “Congregation”), which has

since the 19th century been a papal institute and voluntary association of laymen in communion

with the Roman Catholic Church, and which for over a century has operated in the United States

and Canada, among other places. The North American Province is presently the geographical

division of the Congregation that covers the United States and Canada, and is affiliated with

CBI and AHI.

                                             Standing

        7.       The Committee has standing and is authorized to commence this adversary

proceeding on behalf of CBI’s bankruptcy estate pursuant to this Court’s Order Granting Motion

of the Official Committee of Unsecured Creditors for Authority to Assert, Litigate and Settle

Claims on Behalf of Bankruptcy Estate Relating to Fraudulent Conveyance to All Hallows

Institute.




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                                      Jurisdiction and Venue

        8.       The Court has jurisdiction over this adversary proceeding pursuant to 28 U.S.C.

§§ 157 and 1334. This is a “core” proceeding pursuant to 28 U.S.C. § 157(b)(2). Venue in this

Court is proper under 28 U.S.C. § 1409.

                                    Basis for Relief Requested

        9.       This adversary proceeding is commenced pursuant to Rule 7001 of the Federal

Rules of Bankruptcy Procedure to avoid and recover the All Hallows Transfer pursuant to

sections 544, 550, 551 and 1107 of the Bankruptcy Code and sections 276, 278 and 279 of New

York’s Debtor & Creditor Law. The Committee also seeks its reasonable attorneys’ fees

pursuant to section 276-a of New York’s Debtor & Creditor Law.

                                                Facts

A.      The All Hallows Transfer

        10.      Prior to April 13, 1990, CBI owned the real property and improvements

associated with AHHS, a high school located in Bronx County, New York. AHHS was

established by the Congregation in 1909.

        11.      On April 13, 1990, by a transfer deed dated March 9, 1990, CBI transferred the

real property and improvements (i.e., the All Hallows Transfer) associated with AHHS to AHI.

See Exhibit A. CBI received no consideration in exchange for the All Hallows Transfer. The

transfer deed was notarized by John J. Duffy, CBI’s late general counsel. Id.

        12.      Just a few months after recordation of the transfer deed, Mr. Duffy made the

following admissions regarding CBI’s fraudulent intent with respect to the All Hallows Transfer:

                 Within the last few years in order to make CBI less of a target in
                 any suit for damages, we have been incorporating each school as a
                 separate corporate entity with its own Board of Trustees or
                 Directors and transferring title to the school from CBI e.g. to All

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                 Hallows Institute. This helps to give some protection from liability
                 and is also useful for fund raising by individual schools.

See Exhibit B.

        13.      The “liability” referenced in Mr. Duffy’s letter related to sexual abuse claims

against CBI. Prior to the All Hallows Transfer in 1990, CBI had actual knowledge that

individuals had been sexually abused by its members or associates, that some of the sexual abuse

survivors already had commenced litigation against CBI and that CBI had exposure for further

sexual abuse litigation. For example:

                 a.          CBI was aware that, in 1989, James Hoy filed a complaint against CBI

arising out of sexual abuse occurring at Essex Catholic High School, a high school operated by

CBI, in 1982. McNally v. Providence Washington Ins. Co., 304 N.J. Super. 83 (App. Div. 1997).

                 b.          CBI was aware that, in 1989, the Newfoundland Government, responding

to allegations of sexual and physical abuse claims at the Mt. Cashel orphanage, an orphanage

operated by the Congregation and/or CBI, appointed a Royal Commission of Inquiry to

investigate such abuse claims. That Royal Commission heard allegations of such abuse dating

back as far as 1950. Rowland v. Vancouver College, 2001 BCCA 527 (2001).

                 c.          The archives of the Eastern American Province include a document

reflecting that the Congregation and CBI were aware of sexual abuse claims arising out of

Canada in 1989. See Exhibit C (stating that in 1989, the “[f]irst accusations of abuse at Mt.

Cashel Orphanage surface in newspaper in St. John’s, Nf’ld. Canadian Province begins years of

court cases …”). The Eastern American Province was one of the predecessors of the North

American Province.

        14.      Thus, the All Hallows Transfer was not made by CBI in the usual course of

business. Instead, CBI made the All Hallows Transfer in a deliberate attempt to hinder, delay or

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defraud its creditors and avoid legal liability for the sexual abuse perpetrated by its members or

associates.

        15.      CBI has claimed, however, that the All Hallows Transfer was in fact made in the

usual course of CBI’s business. According to CBI, the All Hallows Transfer was made in the

usual course of CBI’s business because CBI “conveyed many parcels of developed and

undeveloped real property to schools that it had originally established, once they were viable and

capable self-sustained independence.” See Objection to the Motion of the Official Committee of

Unsecured Creditors for Authority to Assert, Litigate and Settle Claims on Behalf of Bankruptcy

Estate Relating to Fraudulent Conveyance to All Hallows Institute [Docket No. 335] at ¶ 8.

CBI’s claim that the All Hallows Transfer was made in the usual course of business is false

because, among other reasons, (a) CBI has conveyed, at most, only two other properties to its

“stand-alone” schools, and made no such conveyances between 1964 and the time of the All

Hallows Transfer, and (b) AHI was not “viable” or “capable of self-sustained independence” at

the time of the All Hallows Transfer, but instead continued to receive financial support from CBI

through at least 2005.

        16.      AHI received the All Hallows Transfer with knowledge of CBI’s actual intent to

hinder, delay or defraud CBI’s creditors, and received the All Hallows Transfer with the actual

intent to hinder, delay or defraud CBI’s creditors.

        17.      CBI did not give actual notice of the All Hallows Transfer to any creditor, nor did

anything occur in the operation of CBI, AHI or AHHS that would give rise to constructive notice

that the All Hallows Transfer had occurred or was fraudulent.

        18.      At all relevant times, a close relationship has existed between the North American

Province, CBI and AHI. Moreover, after the All Hallows Transfer, the North American Province


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and CBI retained control over the governance of AHHS and the fundamental aspects of AHHS’s

operation. The close relationship between the North American Province, CBI and AHI and the

North American Province ‘s and CBI’s retention of control over AHHS are evidenced by, among

other things, the following facts:

                 a.          CBI and AHI are both civil entities that are affiliated with the

Congregation. CBI and AHI are affiliated with the North American Province, and were affiliated

with the Eastern American Province at the time of the All Hallows Transfer.

                 b.          CBI formed AHI, and transferred the real property and improvements

associated with AHHS to AHI in 1990 in a deliberate attempt to hinder, delay or defraud CBI’s

creditors.

                 c.          The board of trustees of AHI is, and at all relevant times has been, the

highest level of governance of AHI and AHHS. At the time of the All Hallows Transfer, five

members of CBI’s six-member board of directors were on AHI’s six-member board of trustees,

and those same five individuals also held a position of governance with the Eastern American

Province.

                 d.          CBI and AHI were represented by the same attorneys – John J. Duffy and

Anthony Dougherty – in connection with the All Hallows Transfer.

                 e.          There was a complete overlap of CBI’s board of directors with AHI’s

board of trustees from April 1990 to the middle of 2005. After the All Hallows Transfer, the

highest level of governance of AHI and AHHS (i.e., the board of trustees) did not change until

the middle of 2005.

                 f.          Lawrence T. Murphy, the chief school administrator of AHHS from

approximately 1988 to 1997, was a Christian Brother.


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                 g.          Between 2006 and the present, two to three members of CBI’s board of

directors have been on AHI’s board of trustees, which since 2006 has been a three-member

board. At this time, two members of CBI’s board of directors are members of the board of

trustees of AHI, and also have positions of governance with the Northern American Province.

The third member of AHI’s current board of trustees is a Christian Brother.

                 h.          The AHHS website indicates that AHHS’s mission and beliefs are closely

tied to those of the Congregation, i.e., CBI’s ecclesiastical counterpart.

B.      The Bankruptcy Case

        19.      CBI is, and at all relevant times was, a corporation existing under the laws of New

York with a principal place of business located in New Rochelle, New York. On April 28, 2011

(the “Petition Date”), CBI filed a voluntary petition for relief under chapter 11 of the Bankruptcy

Code. CBI continues to operate its business as a debtor in possession pursuant to sections 1107

and 1108 of the Bankruptcy Code. No trustee or examiner has been appointed in CBI’s chapter

11 case.

        20.      Pursuant to 11 U.S.C. §§ 544(a) and 1107, CBI has, as of the Petition Date, all the

rights and powers of a “hypothetical judgment creditor” and may avoid any transfer of its

property that is voidable by such a “hypothetical judgment creditor” without regard to CBI’s

knowledge or the knowledge of any actual creditor as of the Petition Date.

        21.      In addition, under 11 U.S.C. § 544(b)(1) and 1107, CBI may avoid any transfer of

an interest of CBI in property that is voidable under applicable law by a creditor holding an

unsecured claim that is allowable under section 502 of the Bankruptcy Code.

        22.      CBI has at least one unsecured creditor (a) who did not discover, and could not

with reasonable diligence have discovered, the fraudulent nature of the All Hallows Transfer


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within two years of the Petition Date, (b) by whom the All Hallows Transfer is voidable under

New York’s Debtor & Creditor Law and (c) who holds an unsecured claim against CBI that is

allowable under 11 U.S.C. § 502.

                                     First Claim for Relief
                       Avoidance and Recovery of Fraudulent Transfer
       (11 U.S.C. §§ 544(a), 550-551 and N.Y. Debt. & Cred. Law §§ 276, 276-a, 278-279)

         23.     The Committee repeats and realleges the allegations contained in each preceding

paragraph of this Complaint as though set forth fully herein.

         24.     On April 13, 1990, by a transfer deed dated March 9, 1990, CBI made the All

Hallows Transfer to AHI, by which CBI transferred the real property and improvements

associated with AHHS to AHI. The All Hallows Transfer was a transfer of CBI’s property to

AHI.

         25.     CBI made the All Hallows Transfer to AHI with the actual intent to hinder, delay

or defraud CBI’s creditors.

         26.     AHI is the initial transferee of the All Hallows Transfer. AHI did not provide fair

consideration or reasonably equivalent value to CBI in exchange for the All Hallows Transfer.

AHI received the All Hallows Transfer with knowledge of CBI’s actual intent to hinder, delay or

defraud CBI’s creditors, and received the All Hallows Transfer with the actual intent to hinder,

delay or defraud CBI’s creditors.

         27.     As of the commencement of CBI’s chapter 11 case, CBI and, derivatively, the

Committee has all the rights and powers of a “hypothetical judgment creditor” and may avoid

any transfer of CBI’s property that is voidable by such a “hypothetical judgment creditor”

without regard to CBI’s knowledge or the knowledge of any actual creditor of CBI as of the

commencement of CBI’s chapter 11 case.


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        28.      At the time of the All Hallows Transfer, the All Hallows Transfer was fraudulent

as to, and voidable by, present and future creditors of CBI pursuant to sections 276, 278 and 279

of New York’s Debtor & Creditor Law. Thus, the All Hallows Transfer is voidable by a

“hypothetical judgment creditor” of CBI.

        29.      The Committee is entitled to an order and judgment against AHI pursuant to 11

U.S.C. § 544(a) and N.Y. Debt. & Cred. Law §§ 276, 278 and 279 that the All Hallows Transfer

shall be avoided. As AHI is the initial transferee of the All Hallows Transfer, the Committee is

entitled to recover for CBI’s estate the All Hallows Transfer or the value thereof under 11 U.S.C.

§ 550 and N.Y. Debt. & Cred. Law §§ 278 and 279, plus interest thereon at the maximum legal

rate from the date of the All Hallows Transfer, and to preserve the All Hallows Transfer or the

value thereof for the benefit of CBI’s estate under 11 U.S.C. § 551. The Committee also is

entitled to recover its reasonable attorneys’ fees under N.Y. Debt. & Cred. Law § 276-a.

                                   Second Claim for Relief
                      Avoidance and Recovery of Fraudulent Transfer
    (11 U.S.C. §§ 544(b)(1), 550-551 and N.Y. Debt. & Cred. Law §§ 276, 276-a, 278-279)

        30.      The Committee repeats and realleges the allegations contained in each preceding

paragraph of this Complaint as though set forth fully herein.

        31.      On April 13, 1990, by a transfer deed dated March 9, 1990, CBI made the All

Hallows Transfer to AHI, by which CBI transferred the real property and improvements

associated with AHHS to AHI. The All Hallows Transfer was a transfer of CBI’s property to

AHI.

        32.      CBI made the All Hallows Transfer to AHI with the actual intent to hinder, delay

or defraud CBI’s creditors.




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        33.      AHI is the initial transferee of the All Hallows Transfer. AHI did not provide fair

consideration or reasonably equivalent value to CBI in exchange for the All Hallows Transfer.

AHI received the All Hallows Transfer with knowledge of CBI’s actual intent to hinder, delay or

defraud CBI’s creditors, and received the All Hallows Transfer with the actual intent to hinder,

delay or defraud CBI’s creditors.

        34.      Under 11 U.S.C. § 544(b)(1) and 1107, CBI and, derivatively, the Committee may

avoid any transfer of an interest of CBI in property that is voidable under applicable law by a

creditor holding an unsecured claim that is allowable under section 502 of the Bankruptcy Code.

        35.      At the time of the All Hallows Transfer, the All Hallows Transfer was fraudulent

as to, and voidable by, present and future creditors of CBI pursuant to sections 276, 278 and 279

of New York’s Debtor & Creditor Law. CBI has at least one unsecured creditor (a) who did not

discover, and could not with reasonable diligence have discovered, the fraudulent nature of the

All Hallows Transfer within two years of the Petition Date, (b) by whom the All Hallows

Transfer is voidable under New York’s Debtor & Creditor Law and (c) who holds an unsecured

claim against CBI that is allowable under 11 U.S.C. § 502.

        36.      The Committee is entitled to an order and judgment against AHI pursuant to 11

U.S.C. § 544(b)(1) and N.Y. Debt. & Cred. Law §§ 276, 278 and 279 that the All Hallows

Transfer shall be avoided. As AHI is the initial transferee of the All Hallows Transfer, the

Committee is entitled to recover for CBI’s estate the All Hallows Transfer or the value thereof

under 11 U.S.C. § 550 and N.Y. Debt. & Cred. Law §§ 278 and 279, plus interest thereon at the

maximum legal rate from the date of the All Hallows Transfer, and to preserve the All Hallows

Transfer or the value thereof for the benefit of CBI’s estate under 11 U.S.C. § 551. The




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Committee also is entitled to recover its reasonable attorneys’ fees under N.Y. Debt. & Cred.

Law § 276-a.

                                          Prayer for Relief

        WHEREFORE, the Committee prays for judgment against AHI as follows:

        (a)      On the First Claim for Relief, for a determination that the All Hallows Transfer is

avoided as a fraudulent transfer pursuant to 11 U.S.C. § 544(a) and N.Y. Debt. & Cred. Law §§

276, 278 and 279, and that the Committee, on behalf of CBI’s bankruptcy estate, is entitled to

recover the All Hallows Transfer or the value thereof, plus interest thereon at the maximum legal

rate from the date of the All Hallows Transfer;

        (b)      On the Second Claim for Relief, for a determination that the All Hallows Transfer

is avoided as a fraudulent transfer pursuant to 11 U.S.C. § 544(b)(1) and N.Y. Debt. & Cred.

Law §§ 276, 278 and 279, and that the Committee, on behalf of CBI’s bankruptcy estate, is

entitled to recover the All Hallows Transfer or the value thereof, plus interest thereon at the

maximum legal rate from the date of the All Hallows Transfer;

        (c)      On the First and Second Claims for Relief, preserving for the benefit of CBI’s

bankruptcy estate the All Hallows Transfer or the value thereof;

        (d)      On the First and Second Claims for Relief, for the Committee’s reasonable

attorneys’ fees incurred herein;

        (e)      For the Committee’s costs of suit incurred herein; and




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        (f)      For such other and further relief as the Court may deem appropriate.



Dated: New York, New York                 PACHULSKI STANG ZIEHL & JONES LLP
       April 26, 2013

                                          /s/ Ilan D. Scharf
                                          John A. Morris, Esq.
                                          Ilan D. Scharf, Esq.
                                          780 Third Avenue, 36th Floor
                                          New York, NY 10017-2024
                                          Telephone: (212) 561-7700
                                          Facsimile: (212) 561-7777

                                          -and-

                                          James I. Stang, Esq. (admitted pro hac vice)
                                          10100 Santa Monica Blvd., 13th Floor
                                          Los Angeles, California 90067-4100
                                          Telephone: (310) 277-6910
                                          Facsimile: (310) 201-0760

                                          Counsel for the Official Committee of
                                          Unsecured Creditors of The Christian Brothers’
                                          Institute and The Christian Brothers of Ireland, Inc.




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